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                                             June 3, 2022

Via CM/ECF:

Samantha Oakes, Courtroom Deputy to
U.S. District Judge Lee Yeakel
501 West 5th Street, Ste 7300
Austin, TX 78701

         Re:       E.T., et al v. Governor Greg Abbott, et al;
                   Civil Action No. 1:21-CV-00717-LY, In the United States District Court,
                   Western District of Texas, Austin Division
                   ATTORNEY VACATION NOTIFICATION

Dear Ms. Oakes:

Please be advised that I will be out of the office on vacation from July 4, 2022 through July 8, 2022
and August 8, 2022 through August 12, 2022 with limited access to e-mail, phone, and internet.
As such, I respectfully request that no documents be filed nor matters set for hearing that require a
timed response and/or an appearance which would occur during or including the period I will not
be available. Thank you.


                                                 Respectfully,

                                                 /s/ Ryan G. Kercher

                                                 Ryan G. Kercher
                                                 Assistant Attorney General
                                                 General Litigation Division




CC:      Counsel of Record via CM/ECF
